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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

IN RE:                                            )
                                                  )
Janice Kay Evans,                                 )           Case No.: 6:19-bk-04257-KSJ
                                                  )           Chapter 7
                Debtor.                           )
                                                  )

              TRUSTEE’S RESPONSE TO U.S. BANK NATIONAL ASSOCIATION
                 MOTION FOR IN REM RELIEF FROM AUTOMATIC STAY

         COMES NOW Richard B. Webber II, the duly appointed and acting Trustee in the above-

captioned case, and responds to U.S. Bank National Association Motion for In Rem Relief from

Automatic Stay (Doc. # 19) filed on August 23, 2019 in regards to the real property located at 347

Admiralty Court, Edgewater, FL 32141 and states the following:

         1.     Trustee has obtained Court approval to employ BK Global Real Estate Services

(Doc. # 15) entered on August 18, 2019 to market and obtain offers on the real property located at

347 Admiralty Court, Edgewater, FL 32141 (“Property”).

         2.     Once an offer is received, it will be presented to U.S. Bank National Association

for their Consent prior to any motion to sell being presented to the Court.

         3.     The Trustee hereby requests 180 days to sell the Property for the benefit of creditors

and U.S. Bank National Association.

         WHEREFORE, Trustee prays that he be granted 180 days to sell the Property for the

benefit of creditors of this case and for all other relief as is just and proper.

         Respectfully submitted this 12th day of September, 2019.

                                                      /s/ Richard B. Webber II
                                                      Richard B. Webber II, Esquire
                                                      PO Box 3000
                                                      Orlando, FL 32802
                                                      Phone: (407) 425-7010
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        I HEREBY CERTIFY that a true and correct copy of the foregoing Response has been
furnished either by U. S. Mail, postage pre-paid and/or by electronic transmission to: Janice Kay
Evans, 21 Ripplewood Lane, Palm Coast, FL 32164; Sheryl S Zust, Sheryl S Zust Pa, 4649 Clyde
Morris Boulevard, Suite 610, Port Orange, FL 32129; United States Trustee, 400 W. Washington
St., Ste. 1100, Orlando, Florida 32801; and Jeffrey S. Fraser, PO Box 23028, Tampa, FL 33623
on this September 12, 2019.


                                              /s/ Richard B. Webber II, Trustee
                                              Richard B. Webber II, Trustee
